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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case



                                       United States District Court
                                                                         for the                                               f o«/ -' J023
                                                                                                                         CJerk J-S.
                                                                        District of                                            fexas Easter,
                                                                                                                                                ot
                                                                                                                                        ern


                                                                            Division



                                                                            )      Case No.       (J
                                                                            )                     (to be filled in by the Clerk s Office)
                                                                            )
 (Write the f ll name of each plainti f who is filing this complaint.
                                                                            )
If the name of all the plaintiffs cannot fit in the space above,            )      Jury Trial: (check one)
please w ite " ee attached" in the spac and attach an additional            )
page with the full list of name .)
                                                                            )
                                 -V-
                                                                            )
                                                                            )
                                                                            )
                                                                            )
                                                                            )
                                                                            )
                                                                            )
( rite the full name of each defendant who is being sued. If the
name ofall the defendant cannot fit in the space above, please              )
write " ee attached" in the pace and attach an additional p ge
with the full li t of ame .)



                                                COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
          A. The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if




                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, gove ment agency, an or anization, or a corpor tion. For an individual defendant,
                    include the person's job or title (if known). Attach additional pages if needed.

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                    Defendant No. 1
                              Name
                              Job or Title (iflsnown)
                              Street Address
                              Citv nd County
                              State and Zip Code
                              Telephone Nu ber
                              E-mail                      Address   (if   known)


                    Defendant No. 2
                              Name
                              Job                  or      Title   (ifknown)
                              Street                         Address
                              City                        and      County
                              State                       and   Zip       Code
                              Telephone                            Number
                              E-m                  il   Address     (if   known)


                    Defendant No. 3
                             Name
                              Job or Title (if known)
                              Street                         Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (if known)


                   Defendant No. 4
                             Name
                             Job Or Title (if known)
                              Street                         Address
                              City                        and      County
                              State                       and   Zip       Code
                             Telephone                             Number
                             E-mail                       Address   (ifknown)




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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in feder l court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction?, (check all that apply)
                     Federal question Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A. If the Basis for Jurisdiction Is a Federal Question

                    List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                    are at issue in this case.




         B. If the Basis for Jurisdiction Is Diversity of Citizenship

                    1.




                             b. If the nlaintiff is a corporation
                                        The plaintiff,                                 ame)                   , is incorporated
                                        under the laws of the State of (na e)
                                        and has its principal place of business in the State of (name)




                             (If more than one plainti f is named in the complaint, attach an additional page providing the
                             same information for each additional plaintiff)

                   2. The Defendant(s)

                             a. If the defendant is an individual
                                        The defendant, (name)                                                 , is a citizen of
                                        the State of (name)                                                Or is a citizen of
                                        (foreign                     ation)


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                                                                                                     , is incorporated under
                                                                                                               , and has its




                              (If more than one defendant is named in the complaint, attach an additional page providing the
                               ame information for each additional defendant.)

                    3. The Amount in Controversy

                              The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                              stake-is more than $75,000, not counting interest and costs of court, because (explain) .




III. Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff har or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, nu ber each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




IV. Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
         the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
         punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
         punitive money damagesa
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                                    CLAIMS FOR RELIEF

                                FIRST CLAIM FOR RELIEF




         Plaintiff re-alleges and incorporate Paragraphs |   as if fully




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V. Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signingbelow, I certify to thebest of my knowledge, information,
         and belief that this complaint: (1) is not being resented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investig tion or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.

         A. For Parties Without an Attorney

                   I agree to provide the Clerk s Office with any changes to my address where case-related papers may be
                   served, I understand that my failure to keep a current address on file with the Clerk’s Office may result
                   in the dismissal of my case.


                   Date of signing:


                   Signature of Plaintiff
                   Printed Name of Plaintiff


         B.        For Attorneys


                   Date of si ning:


                   Signature                                    of         Attorney
                   Printed Name of Attorney
                   Bar Number
                   Name of Law Firm
                   Street Address
                   State and Zip Code
                   Telephone Number
                   E-mail Address




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